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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS
                                       (Eastern Division)



 In re
                                                          Chapter 13
            ANDREW GREENHUT,
                                                          Case No. 19-10782-JNF
                             Debtor.



          MOTION IN LIMINE TO EXCLUDE TESTIMONY OF LYNN BRATMAN

          Creditor Gita Srivastava (“Srivastava”), the holder of divorce-related claims against

Andrew Greenhut (the “Debtor”), hereby submits her Motion in Limine to Exclude Testimony of

Lynn Bratman (the “Motion”). The Debtor failed to disclose Lynn Bratman (“Bratman”)—a

couple’s therapist who saw the Debtor and his partner since prior to the Petition Date—as a

witness during discovery despite his having full knowledge of her and any potential information

she may have had well before the bankruptcy and throughout the pendency of this case and

despite numerous discovery requests that required disclosure of this witness if Debtor so desired,

and Srivastava has had no opportunity to examine the witness. Moreover, Bratman’s proposed

testimony is hearsay, needlessly cumulative, conclusory, and not the best evidence. Finally, the

Debtor has provided no basis for Bratman’s testimony as an expert, under the Daubert standard

or otherwise. In further support of the Motion, Srivastava represents as follows:

          1.         The Court issued its original Pretrial Order on Good Faith Issues [Doc. No. 148]

on February 28, 2020, setting forth deadlines and procedures governing this dispute. In response

to a series of motions to extend the discovery deadline, fact discovery was extended through

July 31, 2020, at which time discovery concluded.




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           2.        Subsequent to concluding discovery, the parties filed their Joint Pretrial

Memorandum [Doc. No. 248] on October 22, 2020. In the Joint Pretrial Memorandum, nearly

three months after the close of discovery, the Debtor for the first time disclosed as potential

witnesses two therapists: (a) Ayelet Pravda, LMHC (the Debtor’s personal therapist) (“Pravda”);

and (b) Lynn Bratman, LICSW (the Debtor’s couple’s therapist) (“Bratman”). As discovery had

concluded three months prior, Srivastava has had no notice or opportunity to depose either

proposed witness.

           3.        The Court issued its Proceeding Memorandum and Order [Doc. No. 271] on

February 2, 2021, which set forth additional procedures and deadlines, including the requirement

that the

                     Debtor shall submit affidavits in lieu of direct testimony for the witnesses
                     Ayelet Pravda and Lynn Brauman, if the Debtor seeks to call such
                     witnesses. Such affidavits shall be filed and served by March 5, 2021. Any
                     affiant must be available for cross examination at the evidentiary hearing.
                     The Court will consider any objections to the direct testimony submitted
                     in the affidavits at the evidentiary hearing.

           4.        The Debtor eventually filed an affidavit only by Bratman, a social worker that had

seen the Debtor and his partner for couple’s therapy beginning in March 2018, approximately

one year prior to the Debtor’s bankruptcy filing, and more than two years before the expiration

of discovery in this matter. Nonetheless, the Debtor never identified Bratman during discovery

and did not disclose Bratman as a potential witness until October 2020.

           5.        The Debtor did not submit an affidavit from his personal therapist, Pravda, who is

a mental health counselor.

           6.        The Debtor filed the Affidavit of Lynn Bratman [Doc. No. 277] (the “Bratman

Affidavit”) on March 5, 2021. The evidentiary hearing in this matter is scheduled for May 11,




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2021. Accordingly, pursuant to the Court’s order, any objection to the testimony of Bratman may

be asserted on or before May 11, 2021.

          7.         During discovery in this matter, on January 29, 2020, Srivastava propounded

interrogatories upon the Debtor, including:

                     Interrogatory No. 6

                             State the name, business and residential address and telephone numbers of
                     each fact witness who you expect to testify at trial, and for each such witness, set
                     forth the expected substance of the testimony of each such witness and your
                     relationship to each such witness.

                     Interrogatory No. 7

                             Identify each person whom you expect to call as an expert witness at trial
                     of this matter, including in your answer:

                            a.      the expert’s name and address;
                            b.      the expert’s qualifications as an expert;
                            c.      the subject matter on which such expert is expected to testify;
                            d.      the substance of the facts and opinions to which the expert is
                                    expected to testify; and
                            e.      provide a summary of the grounds for each opinion.

          8.         The Debtor submitted his answers to interrogatories on March 6, 2020:

                     Answers to Interrogatory No. 6

                     Andrew Greenhut, Debtor.
                     The Debtor anticipates testifying as to the circumstances surrounding his Chapter
                     13 bankruptcy filing, the debtor’s good faith efforts in filing his Chapter 13 case
                     and formulating his Chapter 13 Plan, as well as testifying as to the circumstances
                     surrounding the claim of the Debtor’s parents in loaning to the Debtor various
                     sums prior to the commencement of the above-captioned Chapter 13 bankruptcy
                     case. The Debtor’s contact information is a matter of public record in the above-
                     captioned Chapter 13 bankruptcy case.

                     Gloria and Alan Greenhut, Debtor’s parents
                     1560 45th Street
                     Brooklyn, NY 11219
                     Testify to the fund amounts and purpose of the funds. Testify that money
                     advanced was always as a loan.



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                     Note: The Debtor explicitly reserves the right to supplement his Answers to
                     Interrogatory No. 6 as a final list of actual witnesses that the Debtor anticipates
                     calling of time of trial of the “Good Faith” phase of this matter has not as yet been
                     finalized.

                     Answers to Interrogatory No. 7

                     None at this time.

                     Note: The Debtor explicitly reserves the right to supplement his Answers to
                     Interrogatory No. 6 [sic] as a final list of actual witnesses that the Debtor
                     anticipates calling of time of trial of the “Good Faith” phase of this matter has not
                     as yet been finalized.

          9.         The Debtor never supplemented any of his answers to interrogatories, and never

identified any additional witnesses until long after discovery had closed.

          10.        Given the Debtor’s failure to identify Bratman as a potential witness and the lack

of notice or opportunity to depose Bratman or conduct any discovery whatsoever in connection

with her proposed testimony, allowing Bratman now to testify would be extremely prejudicial to

Srivastava. This prejudice may not be cured by further delaying this matter to allow the Debtor

another bite at the apple to cure his failure; discovery had gone on for nearly 18 months in this

case, which itself has been pending for over two years.

          11.        By proposing Bratman as a witness, the Debtor has waived the privilege, if any,

enjoyed by Bratman as a therapist of the Debtor. Bratman’s affidavit and testimony concern

events which occurred several years ago. No disclosure has been made of any contemporaneous

notes or other records. As a consequence of the Debtor’s nondisclosure, Srivastava has had no

access or opportunity to review such records, and cannot adequately prepare any meaningful

examination of Bratman based on the brief conclusory affidavit that was prepared now for trial.

          12.        Furthermore, because the Debtor did not identify Bratman as a witness until the

filing of the Joint Pretrial Memorandum, it is unclear whether the Debtor is proffering Bratman’s



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testimony on a lay or expert basis. Either way, Bratman’s testimony is inadmissible and should

be excluded.

          13.        If Bratman’s testimony is offered as a lay witness, the testimony is inadmissible

hearsay. See Fed. R. Evid. 801, 802. Bratman’s reports of statements or information provided to

her by the Debtor constitute statements that: “(1) the declarant [the Debtor] does not make while

testifying at the current trial or hearing; and (2) a party offers in evidence to prove the truth of

the matter asserted in the statement.” Fed. R. Evid. 801. For example, Bratman prefaces her

statements with such qualifiers as, “As was explained to me by Andrew…” (Bratman Affidavit

at ¶ 4), “Andrew reported to me…” (Id. at ¶ 7), and “Andrew has indicated to me…” (Id. at ¶

11). The Debtor may testify for himself, and accordingly the statements by Bratman are

inadmissible.

          14.        Bratman’s testimony is also conclusory. Bratman makes statements such as “It

was clear to me….” (Bratman Affidavit at ¶ 5) and “As the situation became more

problematic…” (Id.) Such statements are clearly based upon what the Debtor told Bratman (or

worse, what the Debtor’s partner1 told Bratman with or without the Debtor present). See, for

example, the statement “As was explained to me by Andrew…” (Id. at ¶ 4) or “Andrew reported

to me…” (Id. at ¶ 7) and “Andrew has indicated to me…” (Id. at ¶ 11). Bratman’s statements and

conclusions are unsupported and constitute mere repetitions of alleged out-of-court statements

made by the Debtor. Worse, those statements were not made under oath and they were

apparently made during some type of couple’s session in which there could have been any

number of other pressures or motivations present, none of which can be reliably assessed today.




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  Debtor’s partner has never been disclosed by the Debtor as a witness and, likewise, Creditor Srivastava has had no
notice or opportunity to evaluate her potential statements. Nor is that possible now, years after the fact on the eve of
trial.
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          15.        As Bratman is the therapist of both the Debtor and the Debtor’s partner, it is

impossible to unlink Bratman’s conclusions that derive from Debtor’s statements or his

partner’s, who lacked personal knowledge of the Debtor’s state of mind. By definition, only the

Debtor may testify to his own state of mind. As such, Bratman’s testimony is not relevant and

adds nothing to the Debtor’s own testimony regarding his state of mind.

          16.        This risk underscores one of the greatest weaknesses of Bratman’s testimony—it

is purely speculative. Bratman is being asked today to opine and testify as to why the Debtor

filed his bankruptcy more than two years previously. Bratman was never engaged to make such a

determination, and did not offer debt relief counseling or advice on the Debtor’s bankruptcy

filing as part of his couple’s therapy. Any information Bratman remembers years later regarding

why the Debtor filed for bankruptcy relief is clearly based upon what the Debtor himself or his

partner reported to Bratman at the time. Bratman’s repetition of hearsay or speculation and

guesswork as to the Debtor’s motives is not a valid basis for testimony.

          17.        Apparently, the Bratman Affidavit is offered as proof of the Debtor’s stress in late

2018. Bratman was not treating the Debtor for stress; Bratman is the Debtor’s and the Debtor’s

partner’s couple’s therapist. The Debtor did have a personal therapist who, incidentally,

presumably was treating the Debtor for stress, yet the Debtor chose not to introduce evidence

from that therapist.2 Any financial stress reported by the Debtor to Bratman was at best

incidental to the reasons for his visits with her.

          18.        Bratman’s testimony is needlessly cumulative. Rule 403 of the Federal Rules of

Evidence (the “Rules” and each, a “Rule”) provides that

                     The court may exclude relevant evidence if its probative value is
                     substantially outweighed by a danger of one or more of the following:
2
  Srivastava expressly reserves the right to oppose any attempt by the Debtor to introduce evidence from any
therapist at this stage given the lack of disclosure, lack of foundation, and manifest prejudice to Srivastava.

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                     unfair prejudice, confusing the issues, misleading the jury, undue delay,
                     wasting time, or needlessly presenting cumulative evidence.

Fed. R. Evid. 403. The Debtor himself may testify as to his state of mind, and the testimony of

Bratman constitutes a mere repetition of the Debtor’s own testimony and statements. The Debtor

chose not to include testimony from his personal therapist. The Debtor instead proposes to

provide testimony from Bratman, a couple’s therapist who was seeing the Debtor and his partner

for issues in connection with their relationship. Similarly, the Best Evidence Rule dictates that

the Debtor himself testify as to his state of mind, rather than a party to whom the Debtor is

alleged to have previously reported it.

          19.        Bratman’s testimony is inadmissible for all of the reasons set forth under Rule

403, with the exception of misleading the jury, which is inapplicable in this case. It is prejudicial

to have a person whose entire opinion is based on a combination of hearsay statements uttered by

the Debtor and his partner, especially where those utterances are now inextricably linked in

Bratman’s mind. Any conclusions Bratman has formed are the result of the Debtor’s suggestion;

Bratman prepared her opinion on bases other than her treatment of the Debtor and his partner for

their romantic relationship. The probative value of such testimony—an eve-of-trial opinion by an

undisclosed witness on an issue never previously evaluated—is staggeringly low. The prejudicial

risk, conversely, is unacceptably high.

          20.        If Bratman is to be considered an expert witness, the Debtor has failed to provide

any foundation or basis for such consideration. Pursuant to Rule 702

                     A witness who is qualified as an expert by knowledge, skill, experience,
                     training, or education may testify in the form of an opinion or otherwise if:

                            (a) the expert’s scientific, technical, or other specialized
                            knowledge will help the trier of fact to understand the evidence or
                            to determine a fact in issue;

                            (b) the testimony is based on sufficient facts or data;

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                            (c) the testimony is the product of reliable principles and methods;
                            and

                            (d) the expert has reliably applied the principles and methods to the
                            facts of the case.

Fed. R. Evid. 702. Neither the Debtor nor the Bratman Affidavit provide any basis or compliance

with Rule 702 whatsoever. Nor has the Debtor complied with any of the disclosures required by

Rule 26 of the Federal Rules of Civil Procedure. Bratman has offered no curriculum vitae, no

foundation for her opinion (if that is what the Bratman Affidavit purports to be), and no

opportunity for investigation or testing of this witness or her testimony.

          21.        The Supreme Court of the United States has further set forth the standard for

expert testimony in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). The

Court provided guidelines for determining whether an expert’s methodology is valid. The

Daubert standard comprises five factors:

                     a.     whether the theory or technique in question can be and has been tested;

                     b.     whether it has been subjected to peer review and publication;

                     c.     its known or potential error rate;

                     d.     the existence and maintenance of standards controlling its operation; and

                     e.     whether it has attracted widespread acceptance within a relevant scientific
                            community.

          22.        The Bratman Affidavit fails to address a single one of these factors. Bratman’s

conclusions are based on what the Debtor and his partner told her (“As was explained to me by

Andrew…”), and not on any kind of diagnostic or other testing. Her sole qualification is that she

is a social worker. She does not disclose or expand upon her expertise or qualifications, or even

the purpose of her affidavit. Indeed, the one thing we do know, is that the couple’s therapist

Bratman was not hired to form an opinion or even evaluate the questions presented here—i.e.,

whether and how financial pressure from creditors was related to the Debtor’s decision to file
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bankruptcy—and she was never asked to consider it until years later for purposes of this

litigation.

          23.        Furthermore, “stress” itself is not a mental disorder (see

https://www.mqmentalhealth.org/stress-and-mental-health/). There is nothing in the Diagnostic

and Statistical Manual of Mental Disorders (DSM–5) that recognizes that stress is related to

other mental disorders (such other diagnosable disorders as depression, anxiety, ASD and PTSD,

etc.). Bratman, as a social worker, should be precluded from testifying as to the Debtor’s

“stress”, as stress is within a fact finder’s common knowledge. There is nothing particularly

complex about stress that requires expert testimony. The Debtor could as well have had his

parents, his partner, or any other third party to whom he “explained” his state of mind testify.

          24.        The burden is on the proponent of the proposed expert testimony to establish its

admissibility by a preponderance of proof. The Debtor has offered no proof.

          25.        For all of the foregoing reasons, the Bratman Affidavit should be excluded, and

Bratman should not be allowed to testify as either a lay or expert witness.

          WHEREFORE, Srivastava requests that the Court enter an order: (i) granting this

Motion; (ii) excluding any testimony by Bratman; and (iii) granting such other and further relief

as just and necessary.

                                                           Respectfully submitted,

                                                           GITA SRIVASTAVA,

                                                           By her attorneys,

                                                           /s/ Alex F. Mattera
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 Dated: May 10, 2021

                                CERTIFICATE OF SERVICE

       I, Alex F. Mattera, hereby certify that on the 10th day of May 2021 I caused to be served a
copy of the above pleading on all parties registered for electronic service through the CM/ECF
system.

                                                    /s/ Alex F. Mattera
                                                    Alex F. Mattera




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